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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 JEFFREY MADISON,                                          §
                                                           §
 Plaintiff,                                                §
                                                           §
 v.                                                        §    Case No. 6:20-CV-835-ADA-DTG
                                                           §
 HEALTH CARE SERVICE                                       §
 CORPORATION, d/b/a BLUE CROSS AND                         §
 BLUE SHIELD OF TEXAS,                                     §
                                                           §
 Defendant.                                                §
                                                           §

                   STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff Jeffrey Madison and Health Care Service Corporation d/b/a Blue Cross and Blue

Shield of Texas (the “Parties”), by and through their undersigned counsel, hereby stipulate and

agree to Plaintiff’s voluntary dismissal of the above-captioned action with prejudice pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii).


  Dated: August 7, 2024                                Respectfully submitted,


  By:    /s/ Ryan Downton                              By:    /s/ Brian Kavanaugh
  Ryan Downtown                                        Brian P. Kavanaugh
  LAW OFFICES OF RYAN DOWNTOWN                         State Bar No. 24115132
  State Bar No. 24036500                               Scott D. Stein (admitted pro hac vice)
  159 Dorado Beach East                                Joseph R. Dosch (admitted pro hac vice)
  Dorado, PR 00646                                     SIDLEY AUSTIN LLP
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                                                       Counsel for Defendant



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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on all

counsel of record by electronically filing it with the Clerk of the Court using the CM/ECF system

on August 7, 2023.


                                                    /s/ Brian Kavanaugh




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